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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------x
In re:
                                                                Chapter 11
740 REALTY LLC,                                                 Case No. 15-43754 (NHL)

                           Debtor.
------------------------------------------------------------x




   DEBTOR’S CHAPTER 11 AMENDED PLAN OF REORGANIZATION



                           LAMONICA HERBST & MANISCALCO, LLP
                                 Attorneys for 740 Realty LLC
                                      Chapter 11 Debtor

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In re:
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740 REALTY LLC,                                                 Case No. 15-43754 (NHL)

                           Debtor.
------------------------------------------------------------x
                   CHAPTER 11 AMENDED PLAN OF REORGANIZATION

        The following amended plan of reorganization dated December 18, 2015 (the “Amended

Plan”) is hereby proposed by 740 Realty LLC, the Chapter 11 Debtor (the “Debtor”), and filed

by its attorneys, LaMonica Herbst & Maniscalco, LLP, pursuant to Chapter 11 of Title 11 of the

United States Code (the “Bankruptcy Code”).

                                                  ARTICLE I

                                                DEFINITIONS

        For purposes of this Amended Plan, the following terms have the meanings set forth

below with the meanings to be equally applicable to the singular and plural forms of each term

defined, unless a different meaning is clearly defined herein. Terms used in this Amended Plan

that are defined in the Bankruptcy Code will have the meaning assigned them therein.

        1.01     “Administrative Expense” means any cost or expense of administration of the

Debtor’s Chapter 11 case entitled to priority in payment in accordance with the provisions of

Sections 503(b) and 507(a) of the Bankruptcy Code, or as may be allowed by Final Order,

including, without limitation: (a) the actual and necessary costs and expenses of preserving the

Debtor’s estate (other than such Claims or portions thereof which, by their express terms, are not
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due or payable by the Effective Date); (b) all allowances of compensation for legal or other

services or reimbursement of costs and expenses under applicable sections of the Bankruptcy

Code or otherwise allowed by the Bankruptcy Court; and (c) any indebtedness or obligations

incurred or assumed by the Debtor during the pendency of this Chapter 11 case. To the extent

permitted under section 506(b) of the Bankruptcy Code, an Administrative Expense includes

unpaid interest and any reasonable unpaid fees, costs or charges provided for under the

agreements under which that Administrative Expense arose.

       1.02    “Allowed Administrative Expense” means any Administrative Expense, or

portion thereof, which has been allowed by Final Order of the Bankruptcy Court.

       1.03    “Allowed Claim” means a Claim, other than an Administrative Expense that is:

(a) listed in the Debtor’s schedules, including any amendments thereto, filed in this Chapter 11

case as of the Effective Date and not listed as “disputed,” “contingent,” “unliquidated,” or

“unknown” and as to which no objection to the allowance thereof is filed; (b) set forth in a proof

of Claim timely and properly filed in this Chapter 11 case on or before the deadline fixed by the

Bankruptcy Court, or by applicable rule or statute, as the last day for filing such proof of Claim,

or late filed with leave of the Bankruptcy Court after notice and opportunity for hearing having

been given and as to which no objection to the allowance thereof is filed; (c) determined to be

allowed by Final Order of the Bankruptcy Court, or (d) an amount that the Debtor is made aware

of that it is obligated to pay. To the extent permitted under section 506(b) of the Bankruptcy

Code, an Allowed Claim shall include unpaid interest on such Claim and any reasonable unpaid

fees, costs or charges provided for under the agreements under which such Claim arose.

       1.04    “Allowed Priority Claim” means all or that portion of an Allowed Claim entitled

to priority under Sections 507(a)(3), (4) and (6) of the Bankruptcy Code. Except as may be




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allowed by the Bankruptcy Court in the case of an Allowed Priority Tax Claim under Section

507(a)(8) of the Bankruptcy Code, any interest on such claim which accrued after the Petition

Date, shall be part of the Allowed Priority Claim.

       1.05    “Allowed Priority Tax Claim” means any Allowed Claim, or portion thereof,

except an Administrative Expense, that is entitled to priority in payment pursuant to Section

507(a)(8) of the Bankruptcy Code.

       1.06    “Allowed Secured Claim” means that portion of an Allowed Claim that is secured

by a valid and perfected lien on property of the Debtor, to the extent of the value of the interest

of the holder of such Allowed Secured Claim in the property of the Debtor as determined by the

Bankruptcy Court pursuant to section 506(a), together with such interest (including interest

accrued on or after the Petition Date) fees, costs, and charges as may be allowed by the

Bankruptcy Court under section 506(b).

       1.07    “Allowed Unsecured Claim” means any Allowed Claim, or portion thereof, which

is not an Allowed Administrative Expense Claim or an Allowed Secured Claim, and which is not

entitled to priority in payment under Section 507(a) of the Bankruptcy Code.

       1.08    “Amended Plan” means this amended plan of reorganization and any amendments

permitted in accordance with the Bankruptcy Code and the Bankruptcy Rules.

       1.09    “Auction Sale” means the public auction sale, as governed by the Bidding

Procedures, of the Debtor’s right, title and interest in the Real Property to the highest or best

bidder, free and clear of all liens, claims and encumbrances, if any, with such liens, claims and

encumbrances to attach to the proceeds of sale in the same priority and extent as they existed on

the Petition Date.




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       1.10    “Bankruptcy Code” means Title 11 of the United States Code, and any

amendments thereof applicable to this Chapter 11 case and in effect on the Petition Date.

       1.11    “Bankruptcy Court” means the United States District Court for the Eastern

District of New York and, to the extent of any reference made by such Court pursuant to 28

U.S.C. § 157, the United States Bankruptcy Court for the Eastern District of New York or any

other Court having lawful jurisdiction over this Chapter 11 case.

       1.12    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, and any

amendments or supplements thereto including any local bankruptcy rules adopted by the

Bankruptcy Court.

       1.13    “Bidding Procedures” means the bidding procedures that will govern the terms

and conditions of the public auction sale of the Real Property, which bidding procedures were

approved by order of the Bankruptcy Court dated November 19, 2015. The Bidding Procedures

are attached to the Amended Plan as Exhibit “A”, and the terms therein are incorporated into the

Amended Plan.

       1.14    “Chapter 11” means Chapter 11 of the Bankruptcy Code.

       1.15    “Claim” means a claim, as defined in Section 101(5) of the Bankruptcy Code

whether or not asserted against the Debtor.

       1.16    “Class” means any class into which Claims are classified pursuant to Article II of

the Plan on the Effective Date.

       1.17    “Closing” means the date of the consummation of the sale of the Real Property to

the Successful Bidder in accordance with the terms of the Amended Plan and the Bidding

Procedures.




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       1.18    “Confirmation Account” means the bank account to be established by the

Distributing Agent to hold all funds necessary to make distributions under the Amended Plan on

the Effective Date, which bank account shall be a banking institution that is an authorized

depository in the Eastern District of New York.

       1.19    “Confirmation Date” means the date on which the Confirmation Order is entered

by the Bankruptcy Court.

       1.20    “Confirmation Order” means the order issued by the Bankruptcy Court

confirming the Amended Plan pursuant to Section 1129 of the Bankruptcy Code.

       1.21    “Debtor” means 740 Realty LLC.

       1.22    “Distribution” means the payments made by the Distributing Agent under the

Amended Plan to holders of Allowed Claims and Allowed Administrative Expense Claims.

       1.23    “Disputed Claim” means a Claim (other than an Allowed Claim), proof of which

has been filed with the Bankruptcy Court and an objection to the allowance of which has been

filed with the Bankruptcy Court and has been or is interposed prior to the final date of the filing

of such objection set forth in the Confirmation Order or such other applicable period of

limitations fixed by the Bankruptcy Code, the Bankruptcy Rules or the Bankruptcy Court, and as

to which such dispute or objection has not been determined by a Final Order; and pursuant to a

judgment or order of a court of competent jurisdiction which judgment or order has been stayed

or as to which judgment or order (or any revisions, modifications or amendments thereof) the

Debtor’s time to appeal or seek review or rehearing has not expired by reason of statute or

otherwise; provided, however that (a) with respect to any Disputed Claim for which a proof of

claim has not been filed with, or fixed by, the Bankruptcy Court in the amount of a sum certain,

the amount of such disputed claim, shall, for purposes of the Amended Plan, be fixed or




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liquidated by the Bankruptcy Court prior to the Confirmation Date under section 502 of the

Bankruptcy Code or may be fixed by an agreement in writing between the attorneys for the

Debtor and the holder thereof, or such disputed claims may be fixed or determined by a final

order entered after the Confirmation Date, and (b) the amount of any Disputed Claim may be

such lesser amount of the amount in which such Disputed Claim was filed, as the Bankruptcy

Court may order, or as the Debtor and the holder of such a Disputed Claim may agree upon in

writing, and, provided further, that in no event shall any holder of a Disputed Claim if and when

such Disputed Claim becomes an Allowed Claim, be entitled to receive from the Debtor an

amount greater than the amount of such Disputed Claim so estimated or determined by the

Bankruptcy Court or agreed upon by the Debtor and the holder thereof.

       1.24    “Distributing Agent” means the law firm of LaMonica Herbst & Maniscalco,

LLP, which has been counsel to the Debtor in this proceeding and will make payments in

accordance with the terms of this Amended Plan.

       1.25    “Effective Date” means the day of the Closing on the sale of the Real Property in

accordance with the terms of the Amended Plan.

       1.26    “Estate” means the estate of the Debtor created under Section 541 of the

Bankruptcy Code.

       1.27    “Exculpated Parties” means the Debtor and any current agent, representative,

attorney, accountant, financial advisor, broker or other professional of the Debtor.

       1.28    “Executory Contract” means any of the contracts to which the Debtor is a party

and was a party on the Petition Date and which are executory within the meaning of Section 365

of the Bankruptcy Code.




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       1.29     “Fee Application” means any application of professionals under applicable

provisions of the Bankruptcy Code for allowance of compensation and reimbursement of

expenses in this Chapter 11 case.

       1.30     “Fee Claim” means a Claim under an applicable provision of the Bankruptcy

Code or otherwise allowed by the Bankruptcy Court, for allowance of compensation and

reimbursement of expenses to a professional in this Chapter 11 case.

       1.31     “Final Order” means an order, judgment, decree, stipulation, or other agreement

which is “so ordered” by the Bankruptcy Court, 14 days after the entry of which on the docket of

the Bankruptcy Court, in these proceedings has not been reversed, stayed, modified or amended.

       1.32     “Foreclosure Proceeding” means that state court mortgage foreclosure action

captioned as, 4th Sunset Estates, LLC v. 740 Realty LLC, NYC ECB, City of NY Dep’t of Housing

Preservation & Development, and commenced in the Supreme Court of the State of New York,

County of Kings, under Index Number 29815/2009.

       1.33     “Interest” means any “equity security” or “equity security holder” as those terms

are defined in Sections 101(16) and (17) of the Bankruptcy Code.

       1.34     “Lender” shall mean the secured creditor, its successors and assigns, 4th Sunset

Estates, LLC.

       1.35     “Lender’s Claim” means the Amount of Claim as set forth in the Proof of Claim

filed by Lender on October 12, 2015, which consists of: (i) the sum of $995,612.68 as of

September 17, 2015; (ii) interest accruing from September 18, 2015 at the per diem rate of

$245.49; and (iii) reasonable post-petition attorney’s fees and costs which, as of December 11,

2015, are approximately $20,000.00. Lender’s Claim shall be an Allowed Secured Claim.




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       1.36    “Litigations” means any litigation commenced under this Chapter 11 case,

including, without limitation, actions to avoid and recover preferential and fraudulent transfers.

       1.37    “Petition Date” means August 13, 2015 the date the Debtor filed a voluntary

petition for reorganization under Chapter 11 of the Bankruptcy Code with the Bankruptcy Court.

       1.38    “Net Proceeds” means the proceeds realized from the Litigations, after payment

of Allowed Administrative Expenses in connection therewith for attorneys and other

professionals duly retained in connection with the Litigations.

       1.39     “Priority Tax Claims” mean those Claims of governmental units that are entitled

to priority in payment pursuant to Section 507(a)(8) of the Bankruptcy Code.

       1.40    “Professional” means the attorneys and other professionals retained by the Debtor

pursuant to Final Order of the Bankruptcy Court.

       1.41    “Real Property” means the real property known as, and located at, 740 4th

Avenue, Brooklyn, New York 11232, designated block 648, lot 42.

       1.42    “Receiver” means Harry Horowitz, Esq., the state court appointed received

charged with the responsibility of collecting the monthly rental income and paying the operating

expenses related to the Real Property pursuant to an Order dated April 28, 2010, and entered in

the Foreclosure Proceeding.

       1.43    “Released Parties” means the Debtor, Lender and Receiver, their respective

officers, directors, members, general partners, managers or employees (acting in such capacity)

and any professional person employed by and of them including attorneys.

       1.44    “Sale Proceeds” means the proceeds realized from a sale of the Real Property.

       1.45    “Successful Bidder” means the party who offers the highest or best bid at, or prior

to, the Auction Sale in accordance with the Bidding Procedures.




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       1.46    “Unclaimed Property” means any cash (together with any interest earned thereon)

unclaimed on the 180th day following the Effective Date and subsequent distributions.

Unclaimed Property includes: (a) checks (and the funds represented thereby) which have been

returned as undeliverable without a proper forwarding address; (b) checks (and the funds

represented thereby) which have not been paid; and (c) checks (and the funds represented

thereby) which were not mailed or delivered because of the absence of a proper address to mail

or deliver such check.

       1.47    “Unsecured Creditor” means the holder of an Allowed Unsecured Claim.

                                             ARTICLE II

                     CLASSIFICATION OF CLAIMS AND INTERESTS

       2.01    General Classification Rule

       A Claim that is properly included in more than one Class is in a Class to the extent it

qualifies within the description of such Class and is in a different Class to the extent it qualifies

within the description of such different Class.

       2.02    Acceptance of Classification

       Any holder of a Claim who fails to object, in writing, to the classification of Claims

provided in the Amended Plan, and who has not filed such objection with the Bankruptcy Court

and served such objection upon counsel for the Debtor, at least twenty (20) days prior to the

hearing on confirmation of the Amended Plan shall be deemed to have accepted such

classification and shall be bound thereby.

       2.03    Unclassified Claims

               2.03.1 Administrative Expense Claims: This Class consists of all Allowed

Administrative Expenses Claims, including those of the Debtor’s counsel or other retained

professionals as authorized by and subject to the approval of the Bankruptcy Court.


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               2.03.2 United States Trustee Quarterly Fees: All statutory quarterly fees and

applicable interest due to the Office of the United States Trustee that come due up to and

including the earlier of the date of entry of a final decree closing this Chapter 11 proceeding or of

the date of entry of an order dismissing or converting the case to one under Chapter 7 of the

Bankruptcy Code.

               2.03.3 Priority Tax Claims: Claims of governmental units that are entitled to

priority in payment pursuant to Section 507(a)(8) of the Bankruptcy Code.

       2.04    Classification

       For purposes of the Amended Plan, except for all Unclassified Claims as set forth above,

all Allowed Claims shall be placed in the following Classes, which Classes shall be mutually

exclusive.

               2.04.1 Class 1 Claims – Class 1 consists of all Allowed Secured Claims which

are secured by the Real Property.

               2.04.2 Class 2 Claims – Class 2 consists of all Allowed Priority Claims.

               2.04.3 Class 3 Claims – Class 3 consists of all Allowed Unsecured Claims.

               2.04.4 Class 4 Claims – Class 4 consists of the 100% member interest of the

Debtor held by Chaim Glanzer.

                                          ARTICLE III

                                 TREATMENT OF CLASSES

       3.01    Allowed Administrative Expense Claims

       Administrative Expense Claims are not impaired.              Each holder of an Allowed

Administrative Expense Claim shall be paid in full, in cash, on the Effective Date from the Sale

Proceeds or on such other date and upon such other terms as may be agreed upon by the holder

of such Allowed Administrative Expense Claim and the Debtor. The Receiver may be paid from


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either the Sale Proceeds or the funds on hand in the Receiver’s account on the Effective Date. In

the event of any subsequent conversion of this case to a case under Chapter 7 of the Bankruptcy

Code, all payments on account of any Allowed Administrative Expense Claim are deemed to

have been made in the ordinary course of the Debtor’s business and will not be deemed

preferential or unauthorized under Sections 547 or 549 of the Bankruptcy Code. Holders of

Administrative Expense Claims are not entitled to vote on the Amended Plan and are deemed to

have accepted the Amended Plan.

       Allowed Administrative Expense Claims, if any, representing liabilities incurred in the

ordinary course of business by the Debtor will be assumed and paid by the Debtor in accordance

with the terms and conditions of the arrangements with the particular creditor and in accordance

with ordinary business terms.

       3.02    United States Trustee Claims

       The United States Trustee claims are unimpaired. The Debtor shall pay all statutory fees

and applicable interest due to the Office of the United States Trustee that come due up to and

including the earlier of the date of entry of a final decree closing this Chapter 11 proceeding or of

the date of entry of an order dismissing or converting the case to one under Chapter 7 of the

Bankruptcy Code.

       3.03    Priority Tax Claims

       Priority Tax Claims are unimpaired. Allowed Priority Tax Claims of governmental units,

if any, will be paid in full on or within fifteen (15) days after the Effective Date.




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       3.04    Class 1 Secured Claims

       Class 1 Allowed Secured Claims are impaired. The Allowed Secured Claims shall be

paid in cash, in full, at the Closing, unless otherwise agreed to by such claim holder. Lender’s

Claim is an Allowed Secured Claim.

       3.05    Class 2 Claims – Allowed Priority Claims

       Class 2 Allowed Priority Claims, if any, shall be paid in full on or within fifteen (15)

days after the Effective Date. Therefore, Class 2 Claims are unimpaired.

       3.06    Class 3 Claims – Allowed Unsecured Claims

       Class 3 Allowed Unsecured Claims shall be paid in full, plus 1% of each respective

claim, on or within fifteen (15) days after the Effective Date, or upon such other terms as agreed

between the Debtor and holders of Allowed Class 3 claims. Therefore, Class 3 Claims are

unimpaired.

       3.07    Class 4 Claims – Allowed Member Interest

       Class 4 Member Interest class consists of the 100% membership interest held by Chaim

Glanzer in the Debtor.      Mr. Chaim Glanzer shall be paid any funds remaining in the

Confirmation Account after the payment of Allowed Administrative Expense Claims and

Allowed Claims in accordance with the Amended Plan and in accordance with their legal rights.

Mr. Chaim Glanzer will retain his equity interest in the Debtor to the extent and nature as it

existed on the Petition Date. Therefore, Class 4 is unimpaired.

                                         ARTICLE IV

   IDENTIFICATION OF UNIMPAIRED CLAIMS UNDER THE AMENDED PLAN

       4.01    Unimpaired Classes

               All classes are unimpaired under the Amended Plan.




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                                           ARTICLE V

                  CONDITIONS PRECEDENT TO CONFIRMATION OF
                  THE AMENDED PLAN AND THE EFFECTIVE DATE

       5.01    In order for the Amended Plan to be confirmed, the Confirmation Order must be

entered by the Bankruptcy Court. The Confirmation Order shall include authorization to the

Debtor to sell the Real Property.

       5.02    As set forth in section 1.23 above, the Effective Date shall occur on the day of the

Closing.

                                          ARTICLE VI

              EXECUTION AND IMPLEMENTATION OF AMENDED PLAN

       6.01    Timing of the Amended Plan

       Consistent with the requirements set forth in Article V, the implementation of the

Amended Plan occurs on the Effective Date, after the Confirmation Order has been entered by

the Bankruptcy Court.

       6.02    Source of Funding

       On the Effective Date, the Debtor shall sell, assign, transfer and convey all right, title and

interest in the Real Property in accordance with this Plan and the Bidding Procedures. The sale

shall be free and clear of all liens, claims, and encumbrances of whatever kind or nature (the

“Liens”) with such Liens to attach to the proceeds of sale in the order and priority as they existed

on the Petition Date. As permitted by the Sections 1123(a)(5) and 1123(b)(4) of the Bankruptcy

Code, confirmation of the Amended Plan by the Bankruptcy Court shall constitute approval of a

sale of the Real Property to the Successful Bidder and the authorization for the Debtor close on

the sale of the Real Property. The terms of the Amended Plan provide that the Effective Date of

the Amended Plan shall be the day of the Closing.          The Real Property will be sold to a



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Successful Bidder free and clear of the Liens. Distributions to all Allowed Administrative

Expense Claims and Allowed Claims under the Plan will be funded from the Sale Proceeds of

the Real Property.

         The sale and transfer of the Real Property by the Debtor to the Successful Bidder shall

not result in the incurrence of any stamp tax or similar tax as those taxes are exempt under

Section 1146(a) of the Bankruptcy Code. The Office of the City Register of the City of New

York shall record any documents effectuating such transfer without the payment of such transfer

taxes.

         On or after the Effective Date, the Debtor shall continue to exist with all the powers of a

corporation under applicable law, may use and dispose of property and compromise or settle any

claims in accordance with this Amended Plan.

                                          ARTICLE VII

                           AMENDMENTS AND MODIFICATIONS

         7.01   Amendment of Plan

         The Debtor reserves the right to amend and modify the Amended Plan prior to the

Confirmation Date in any manner necessary to obtain confirmation of the Amended Plan, to the

extent permitted by the Bankruptcy Code, the Bankruptcy Rules, and the Bankruptcy Court.

Such amendments may be made at, or prior to, the hearing on confirmation of the Amended Plan

without further notice to any party in interest, except an announcement in open court made on

the record at the confirmation hearing. After the Confirmation Date, the Debtor may, upon an

order of Bankruptcy Court in accordance with Section 1127(b) of the Bankruptcy Code, remedy

any defects, or omissions or reconcile any inconsistency in this Amended Plan in a manner

necessary to carry out the purposes and intent of the Amended Plan. Any material modifications




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to the Amended Plan subsequent to confirmation of the Amended Plan shall be on notice to

creditors and with a hearing to be held in connection therewith.

                                         ARTICLE VIII

                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       8.01    Assumption/Rejection of Executory Contracts and Unexpired Leases

       To the extent the Debtor was a lessee to any other executory contracts and/or unexpired

leases, as of the Petition Date, the Debtor shall be deemed to have rejected each executory

contract and unexpired lease to which it is a party, unless such contract or lease: (a) was

previously assumed or rejected by the Debtor, (b) previously expired or terminated pursuant to

its own terms, or (c) is the subject of a motion to assume filed on or before the Confirmation

Date. The Confirmation Order shall constitute an order of the Court under Sections 363 and 365

of the Bankruptcy Code approving the contract and lease assumptions and rejections described

above, as of the Effective Date.

       Any monetary amounts by which each executory contract and unexpired lease to be

assumed pursuant to the Plan is in default shall be satisfied, under Section 365(b)(1) of the

Bankruptcy Code, at the option of the Debtor or the assignee of the Debtor assuming such

contract or lease, by cure, or by such other treatment as to which the Debtor and such non-Debtor

counterparty to the executory contract or unexpired lease shall have agreed in writing. If there is

a dispute regarding the nature or amount of any cure, the ability of the Debtor or any assignee to

provide “adequate assurance of future performance” (within the meaning of Section 365 of the

Bankruptcy Code) under the contract or lease to be assumed, or any other matter pertaining to

assumption, the Debtor shall cure within thirty (30) days following the entry of a Final Order

resolving the dispute and approving the assumption or the assumption and assignment, as the

case may be.


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       If the rejection by the Debtor, pursuant to the Amended Plan or otherwise, of an

executory contract or unexpired lease results in a Claim that is not theretofore evidenced by a

timely filed proof of claim or a proof of claim that is deemed to be timely filed under applicable

law, then such Claim shall be forever barred and shall not be enforceable against the Debtor,

unless a proof of claim is filed with the Clerk of the Court and served upon counsel for the

Debtor within thirty (30) days of entry of the Confirmation Order.

                                          ARTICLE IX

                       EFFECT OF CONFIRMATION; VESTING OF
                              PROPERTY; INJUNCTION

       9.01    On the Effective Date, the terms of this Amended Plan bind all holders of all

Claims against the Debtor, whether or not such holders accept this Amended Plan.

       9.02    Injunction

       Effective on the Effective Date, all Persons who have held, hold, or may hold Claims

against the Debtor or its assets are enjoined from taking any of the following actions against or

affecting the Debtor or the assets of the Debtor with respect to such Claims (other than actions

brought to enforce any rights or obligations under the Amended Plan or appeals, if any, from the

Confirmation Order): (a) commencing, conducting or continuing in any manner, directly or

indirectly, any suit, action or other proceeding of any kind against the Debtor or the assets of the

Debtor or any direct or indirect successor in interest to the Debtor, or any assets of any such

transferee or successor; (b) enforcing, levying, attaching, collecting or otherwise recovering by

any manner or means whether directly or indirectly any judgment, award, decree or order against

the Debtor or its assets or any direct or indirect successor in interest to the Debtor, or any assets

of such transferee or successor; (c) creating, perfecting or otherwise enforcing in any manner,

directly or indirectly, any encumbrance of any kind against the Debtor or the assets of the Debtor



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or its assets or any direct or indirect successor in interest to the Debtor, or any assets of any such

transferee or successor other than as contemplated by the Amended Plan; (d) asserting any set-

off, right of subrogation or recoupment of any kind directly or indirectly against any obligation

due the Debtor or its assets or any direct or indirect transferee of any assets of, or successor in

interest to, the Debtor; and (e) proceeding in any manner in any place whatsoever that does not

conform to or comply with the provisions of the Amended Plan.

       9.03    Release

       As of the Effective Date, to the extent authorized by Section 1141 of the Bankruptcy

Code the Released Parties are released from all Claims, demands, actions, claims for relief,

causes of actions, suits, debts, covenants, agreements and demands of any nature whatsoever, in

law and in equity, that any creditor had, or now has, or may hereafter have against the Released

Parties arising prior to the Effective Date. Except as otherwise provided herein and in Section

1141 of the Bankruptcy Code, all Persons shall be precluded and enjoined from asserting against

the Released Parties, their assets or properties, or against any property that is distributed, or is to

be distributed under the Amended Plan, any other or further Claim upon any acts or omissions,

transactions or other activity of any kind or nature that occurred prior to the Effective Date.

Nothing in this section shall be construed as a release of the Released Parties from claims that

may constitute gross negligence, willful misconduct, criminal misconduct, fraud or failure to

disclose material information which causes actual damages in regards to the Debtor’s bankruptcy

case. In accordance with Section 1141(d)(3) of the Bankruptcy Code, the Debtor will not receive

a discharge.




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       9.04    Exculpation

       The Exculpated Parties and their property and professionals who provided services to the

Debtor’s estate during this Chapter 11 case, and all direct or indirect predecessors-in-interest to

any of the foregoing Persons, will not have or incur any liability to any Person for any act taken

or omission occurring on or after the Petition Date in connection with or related to this estate,

including but not limited to (i) the commencement and administration of the Chapter 11 case, (ii)

the operation of the Debtor during the pendency of the Chapter 11 Case, (iii) formulating,

preparing, disseminating, implementing, confirming, consummating or administering the

Amended Plan (including soliciting acceptances or rejections thereof); (iv) the Amended

Disclosure Statement or any contract, instrument, release or other agreement or document

entered into or any action taken or omitted to be taken during the administration of the Chapter

11 case or in connection with the Amended Plan; or (v) any Distributions made pursuant to the

Amended Plan. Nothing in this section shall be construed as a release of such person’s gross

negligence, willful misconduct, criminal misconduct, fraud or failure to disclose material

information which causes actual damages in regards to the Debtor’s bankruptcy case with respect

to the matters set forth in this section. Nothing contained in the Amended Plan shall serve to

limit the liability of attorneys and professionals to their clients for malpractice pursuant to Rule

1.8(h) of the New York Rules of Professional Conduct.

                                           ARTICLE X

                                      CLAIMS MATTERS

       10.01 In the event that objections to Claims are filed by the Debtor, the Debtor will

determine the amount of cash to be reserved with respect to that contested Claim in a sum not

less than the amount required to pay that contested Claim under the Amended Plan on account of

such Claim, if said Claim was proved and allowed, in full, (with interest, if applicable), and keep


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on deposit such funds in the Confirmation Account. Contested Claims that are litigated to

judgment, settled or withdrawn will be satisfied from the funds held for that purpose. Should the

amount reserved by the Debtor on account of the Contested Claim exceed the amount required to

satisfy the Contested Claim, any excess will be distributed to the Debtor.

         10.02 Objections to Claims to the extent not already commenced by the Debtor, must be

filed and served no later than ninety (90) days after the Effective Date or within such other time

period as may be fixed by the Court; provided however that the Debtor will have ninety (90)

days from the filing of any such Claim to file an objection.

                                          ARTICLE XI

                    DUTIES AND RIGHTS OF DISTRIBUTING AGENT

         11.01 Nomination of LaMonica Herbst & Maniscalco, LLP to make Distributions

         The law firm of LaMonica Herbst & Maniscalco, LLP shall be the Distributing Agent

and plan administrator under the Amended Plan and shall be responsible for making all

distributions under the Amended Plan. The Distributing Agent shall be nominated as such as

part of the confirmation of the Amended Plan and such nomination is effective upon the

Confirmation Date. The Distributing Agent with the assistance of the Debtor will be responsible

for implementing and effectuating all provisions of the Amended Plan in accordance with its

terms.

         11.02 Duties and Rights of Distributing Agent

         Pursuant to the Amended Plan, the Distributing Agent will pay all Allowed

Administrative Expenses, allowed pursuant to an Order of the Court, will distribute the monies

payable to the holders of Allowed Claims in accordance with the Amended Plan, or upon such

other terms as may be agreed upon between the Debtor and such holder of an Allowed Claim.

         11.03 Compensation of Debtor’s Professionals


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       After confirmation, to the extent the Professionals provide services to the Debtor in

connection with this Amended Plan, they shall provide invoices to the Debtor for the fees

incurred and any disbursements expended on behalf of the Debtor under the confirmed Amended

Plan on a monthly basis. A copy of the same invoice will also be forwarded to the Office of the

United States Trustee at the same time and in the same manner as delivered to the Debtor. In the

event that no objection to the invoice is asserted within ten (10) days of delivery, the Debtor will

be vested with the right to pay the invoice to the Professional(s). In the event a dispute over the

fees of the Professionals cannot be resolved consensually, the dispute will be resolved through an

appropriate application to the Bankruptcy Court. The parties agree that the Bankruptcy Court

retains jurisdiction to resolve any fee dispute, to the extent one arises.

                                           ARTICLE XII

                                UNCLAIMED DISTRIBUTIONS

       12.01 For a period of 180 days following the Effective Date, unclaimed property will be

held by the Debtor in a depository in compliance with Section 345 of the Bankruptcy Code for

the holders of Allowed Claims which have failed to claim such distribution. For a period of 180

days following the Effective Date, and for a period of 180 days following subsequent

distributions, unclaimed property due to the holder of an Allowed Claim will be released by the

Debtor and delivered to such holder upon presentation and proper proof by such holder of its

entitlement thereto.

       12.02 At the end of the 180 days following the Effective Date and subsequent

distributions, all unclaimed distributions together with the interest thereon, will be distributed to

the reorganized Debtor.

                                          ARTICLE XIII

                               RETENTION OF JURISDICTION


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       13.01 The Bankruptcy Court will retain jurisdiction under Chapter 11 of the Bankruptcy

Code and, for the purposes set forth in Section 1127(b) of the Bankruptcy Code, for a period of

180 days from the Effective Date, including, inter alia, the following:

       (a)     to hear and determine all Claims concerning the classification, allowance or

disallowance of any Claim, if any;

       (b)     to hear and determine all Claims arising out of any agreement entered into by the

Debtor after the Petition Date, if any;

       (c)     to alter, modify and amend the Amended Plan pursuant to Section 1127 of the

Bankruptcy Code, or to remedy any defect, cure any omissions or reconcile any inconsistency in

the Amended Plan or Confirmation Order as may be necessary or advisable to carry out the

purpose and intent of the Amended Plan and to the extent authorized by the Bankruptcy Code or

Bankruptcy Rules;

       (d)     to hear and adjudicate the Litigations, including without limitation, any settlement

of such Litigations, and/or any disputes concerning settlement of the Litigations, or to enforce

and/or implement the terms of any such settlement;

       (e)     to hear and determine such other matters as may be provided for in the

Confirmation Order of the Bankruptcy Court, and for the purposes set forth in Sections 1127(b)

and 1142 of the Bankruptcy Code or as contained in Bankruptcy Rules 1019 and 3020(d);

       (f)     to hear and determine all applications for compensation;

       (g)     to make such orders ex parte or upon application, as are necessary or appropriate,

and to hear and determine any controversies and/or disputes, concerning the interpretation and/or

implementation of the provisions of the Amended Plan;




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       (h)     to enter a final order or decree concluding the Chapter 11 case or an order of

substantial consummation;

       (i)     to hear and determine all matters regarding the sale of the Real Property pursuant

to the Amended Plan and any matters related thereto; and

       (j)     to determine other matters contained in the Confirmation Order or that is

authorized under the provisions of the Bankruptcy Code.

                                         ARTICLE XIV

                                    EVENTS OF DEFAULT

       14.01 The following events constitute defaults under the Amended Plan:

               (a)     the Debtor fails to perform or observe any of the transactions, covenants,

representations or warranties contained in this Amended Plan; and

               (b)     the Debtor fails to make any payments provided for in the Amended Plan.

       14.02 Subject to Section 14.03 herein, the occurrence of any events of default entitles

any creditor or party in interest to move this Bankruptcy Court, on notice to the Debtor, Debtor’s

counsel, and the Office of the United States Trustee, to declare the Amended Plan terminated and

of no further force and effect, and any deferred indebtedness and any accruals of interest on

payments, if any, shall then become immediately due and payable. Failure or delay by any

creditor or party in interest to give such notice or to make such motion to declare an event of

default shall not constitute a waiver or release of any right of any creditor or party in interest to

move to declare a default by reason of such event or any other prior or subsequent event of

default.

       14.03 Upon written receipt from any creditor or parties in interest of a notice of default

(as set forth in section 14.02), the Debtor will have ten (10) business days from receipt of such

notice to cure such default and during such ten (10) business days, any creditor or party in


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interest will take no action to terminate this Amended Plan. If such default is cured within the

ten (10) business day period, then the Amended Plan will continue in full force and effect.

Notices pursuant to this section 14.03 must be sent to the Debtor by certified mail, return receipt

requested to the following addresses: LaMonica Herbst & Maniscalco, LLP, counsel for the

Debtor, 3305 Jerusalem Avenue, Suite 201, Wantagh, New York 11793 Attn: Jordan Pilevsky,

Esq.

                                          ARTICLE XV

                                    GENERAL PROVISIONS

        15.01 Headings

        The headings used in the Amended Plan are inserted for convenience or reference only

and neither constitutes a portion of the Amended Plan nor in any manner affects the provisions or

interpretations of this Amended Plan.

        15.02 Notices

        Notices will be deemed given when received. All notices, requests or demands described

in or required to be made in accordance with the Amended Plan must be in writing and must be

delivered personally or by registered or certified mail, return receipt requested, to:


                                     Attorneys for the Debtor:

                                      Jordan Pilevsky, Esq.
                               LaMonica Herbst & Maniscalco, LLP
                                3305 Jerusalem Avenue, Suite 201
                                   Wantagh, New York 11793
                                   Telephone: (516) 826-6500
                                   Facsimile: (516) 826-0222

                                          To the Debtor:
                                         740 Realty LLC
                                    5308 New Utrecht Avenue
                                    Brooklyn, New York 11219
                                       Attn: Chaim Glanzer


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       15.03 Change of Address

       The Debtor may change the address at which it is to receive notices under the Amended

Plan by sending written notice pursuant to the provisions of this Article to the person to be

charged with the knowledge of such change.

       15.04 Rounding to the Nearest Dollar

       Notwithstanding any provision to the contrary herein, payments requiring portions of a

dollar will not made. Actual payments will be made by rounding such fractional obligation, up

or down, to the nearest whole dollar.

       15.05 Successors and Assigns

       The rights and obligations of any entity named or referred to in the Amended Plan will be

binding upon, and shall inure to the benefit of, the successors and assigns of such entity.

       15.06 Post Confirmation Reporting

       The Debtor shall file a report of its activities and financial affairs with the Bankruptcy

Court on a quarterly basis, within twenty (20) days after the conclusion of each post-

confirmation calendar quarter. Any such reports shall be prepared substantially consistent with

(both in terms of content and format) the applicable Bankruptcy Court and the United States

Trustee guidelines for such matter.

       15.07 Final Decree

       In accordance with E.D.N.Y. Local Bankruptcy Rule 3022-1, within fourteen (14) days

of the full administration of this estate, the Debtor shall file, on notice to the Office of the United

States Trustee, an application and proposed order for a final decree or, if necessary, an

application requesting an extension of such time.




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       15.08 Governing Law

       Except to the extent that the Bankruptcy Code is applicable, the rights and obligations

arising under the Plan shall be governed by, and construed and enforced in accordance with, the

laws of the State of New York.




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           15.09 References

           Unless otherwise specified, all references in the Amended Plan to Sections and Articles

are to Sections and Articles of the Amended Plan.



Dated: December 18, 2015
       Wantagh, New York
                                                                   LaMonica Herbst & Maniscalco, LLP
                                                                   Attorneys for the Debtor


                                                       By:         s/ Salvatore LaMonica
                                                                   Salvatore LaMonica, Esq.
                                                                   Jordan Pilevsky, Esq.
                                                                   3305 Jerusalem Avenue, Suite 201
                                                                   Wantagh, New York 11793
                                                                   (516) 826-6500

Dated: December 18, 2015
       Brooklyn, New York

                                                                   740 Realty LLC
                                                                   Chapter 11 Debtor


                                                       By:         s/ Chaim Glanzer
                                                                   Name: Chaim Glanzer
                                                                   Title: Sole Member



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                  EXHIBIT A
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                                 BIDDING PROCEDURES

1.    These bidding procedures (the “Bidding Procedures”) are being promulgated in
      connection with the public auction sale (the “Auction Sale”) of real property known as,
      and located at, 740 4th Avenue, Brooklyn, New York 11232, designated block 648, lot 42
      (the “Real Property”). The Bidding Procedures shall govern the auction process for the
      sale of the Real Property.

2.    The seller of the Real Property is 740 Realty LLC, the Chapter 11 Debtor (the “Debtor”),
      which Chapter 11 case is pending before the United States Bankruptcy Court for the
      Eastern District of New York (the “Bankruptcy Court”), assigned case number 15-
      43754 before the Honorable Nancy H. Lord, United States Bankruptcy Judge. The sale of
      the Real Property is being conducted pursuant to Bankruptcy Code Sections 363(b), (d),
      (f), (k) and (m) and is subject to confirmation of a plan of reorganization and approval by
      the Bankruptcy Court.

3.    The Auction Sale will be held on December 16, 2015 at 2:30 p.m. at the United States
      Bankruptcy Court for the Eastern District of New York located at 271 Cadman Plaza
      East, Brooklyn, New York 11201, Room 3554. The Debtor reserves the right to change
      the location, date and/or time of the Auction Sale upon reasonable notice to all parties in
      interest, and at a date and time acceptable to Lender (defined below) and shall
      electronically file such notice on the Bankruptcy Court’s docket.

4.    It is understood that in order to be permitted to bid on the Real Property all prospective
      bidders must deliver to Maltz Auctions, Inc. d/b/a Maltz Auctions, the Debtor’s duly
      retained broker (“Maltz”), a certified or bank check, in the amount of One Hundred
      Thirty-Five Thousand Dollars ($135,000.00) (the “Qualifying Deposit”), payable to the
      order of “LaMonica Herbst & Maniscalco, LLP, as attorneys” prior to the commencement
      of the Auction Sale, which amount shall serve as a partial good faith deposit against
      payment of the purchase price. The highest bidder at the Auction Sale (the “Successful
      Bidder”) must execute and agree to be bound by (i) these Bidding Procedures and (ii) a
      Memorandum of Sale, a copy of which is annexed hereto. At the conclusion of the
      Auction Sale, the Debtor or its representative will return the Qualifying Deposits to all
      unsuccessful bidders.

5.    At the Auction Sale, 4th Sunset Estates, LLC, the secured creditor, its successors and
      assigns (“Lender”) shall have the right, pursuant to 11 U.S.C. § 1129(b)(2)(A)(ii) and §
      363(k), to credit bid at such sale up to the full amount of Lender’s Claim, and, if Lender
      purchases such property, may offset Lender’s Claim against the purchase price of such
      property. Lender shall not be required to deliver a Qualifying Deposit unless it intends on
      bidding an amount that exceeds the Lender’s Claim, and any such Qualifying Deposit
      shall be based on the portion of the bid that exceeds the Lender’s Claim. Debtor waives
      any right to challenge Lender’s right to credit bid. “Lender’s Claim” means the Amount
      of Claim set forth in the Proof of Claim filed by Lender on October 12, 2015, or
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       $995,612.68, plus post-petition attorney’s fees and the accrual of interest at the per diem
       rate of $245.49.

6.     The Successful Bidder shall (a) deliver to Maltz a certified check or bank check, payable
       to “LaMonica Herbst & Maniscalco, LLP, as attorneys”, in an amount of at least 10% of
       the successful bid price minus the Qualifying Deposit (the “Down Payment”) within 48
       hours of the Auction Sale; and (b) pay the Balance (that being defined as the difference
       between the successful bid and the Qualifying Deposit and Down Payment) of the
       purchase price for the Real Property to the Debtor by certified check or bank check at the
       closing of title to the Real Property (the “Closing”). If Lender’s credit bid is the winning
       bid at the Auction it will be considered the Successful Bidder.

7.     The Successful Bidder must close title to the Real Property on a date (the “Closing
       Date”) which is not later than thirty (30) calendar days from the later of: (i) the date of
       entry of an Order of the Court (the “Sale Confirmation Order”) confirming the sale of
       the Real Property to the Successful Bidder and (ii) the date of entry of an Order of the
       Court confirming the Debtor’s Chapter 11 plan of reorganization (the “Plan
       Confirmation Order”). The Debtor, with Lender’s written consent which shall not be
       unreasonably withheld, may extend the Closing Date. The closing shall take place at the
       office of LaMonica Herbst & Maniscalco, LLP, 3305 Jerusalem Avenue, Suite 201,
       Wantagh, New York 11793. Time is of the essence for Successful Bidder to perform all
       of the obligations required on his part to be performed by the Closing Date. The parties
       may mutually agree to an early closing but the Closing Date may be extended solely by
       the Debtor. The Debtor shall require the Lender’s consent, which shall not be
       unreasonably withheld, to extend the Closing Date for a period of more than 21 calendar-
       days.

8.     All applicable New York State, New York City or other real property transfer taxes
       incurred by the transfer of the Real Property shall be paid at closing by the Debtor unless
       such taxes are exempt under 11 U.S.C. § 1146. The Successful Bidder acknowledges that
       they will be responsible for completion of any ACRIS forms or applicable recording
       documents, if required, and fees associated in connection therewith.

9.     The Debtor is authorized to grant an interested party “stalking horse” rights to be the
       initial bidder at the Auction Sale. Should the Debtor, prior to the Auction Sale, agree to
       provide a bidder “stalking horse” rights, such rights and procedures will be as follows: (i)
       the “stalking horse” bidder shall pay to the Debtor an amount equal to 10% of the
       “stalking horse” bid prior to the Auction Sale (the “Stalking Horse Bid”); (ii) the
       “stalking horse” bidder must execute and agree to be bound by these Bidding Procedures
       and a Memorandum of Sale, a copy of which is annexed hereto; and (iii) a bid by any
       competing Offeror for the Real Property at the Auction Sale shall be at least $30,000.00
       more than the Stalking Horse Bid.

10.    There is no contingency of any kind or nature that will permit the Successful Bidder to
       withdraw its bid and receive a return of its deposit. In connection with the Closing and


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       the Closing Date, the Successful Bidder is hereby given notice, and expressly
       acknowledges that, TIME IS OF THE ESSENCE WITH RESPECT TO THE
       SUCCESSFUL BIDDER’S OBLIGATION TO PAY THE BALANCE OF THE
       PURCHASE PRICE ON THE CLOSING DATE. FAILURE BY THE
       SUCCESSFUL BIDDER TO PAY THE BALANCE OF THE PURCHASE PRICE
       ON THE CLOSING DATE WILL RESULT IN THE DEBTOR RETAINING THE
       QUALIFYING DEPOSIT/DOWN PAYMENT AS LIQUIDATED DAMAGES AND
       AS AN ASSET OF THE ESTATE, AND THE TERMINATION OF THE
       SUCCESSFUL BIDDER’S RIGHT TO ACQUIRE THE REAL PROPERTY
       UNDER THESE BIDDING PROCEDURES.

11.    The Debtor reserves the right to reject any offeror or bidder, who in the sole discretion of
       the Debtor, and after consultation with the Lender, it believes is not financially capable of
       consummating the purchase of the Real Property. Expenses incurred by the Successful
       Bidder, or any competing bidder concerning any due diligence, such as obtaining title
       reports or environmental inspections, shall be the sole responsibility of such bidder, and
       under no circumstances shall the Debtor, its estate or professionals be responsible to pay
       such expenses.

12.    The Successful Bidder shall be obligated to close title to the Real Property and there is no
       contingency of any kind or nature that will permit the Successful Bidder to cancel these
       Bidding Procedures. Anything to the contrary contained in these Bidding Procedures
       notwithstanding, the Debtor shall have the right, subject to paragraph 7 herein, to adjourn
       the Closing Date in order to remedy any defect to title.

13.    In the event that the Successful Bidder for the Real Property fails to timely tender the
       Down Payment or otherwise perform its obligation under these Bidding Procedures, the
       Debtor, at its sole and absolute option, shall be authorized to contact the second highest
       bidder (the “Second Bidder”) to sell the Real Property to the Second Bidder without any
       further notice or approval of the Bankruptcy Court, without giving credit for the
       Qualifying Deposit and Down Payment forfeited by the Successful Bidder, and upon such
       other terms and conditions as the Debtor deems appropriate. Thereafter, the Second
       Bidder shall be deemed for all benefits and obligations to be the Successful Bidder.

14.    The Debtor, or the Debtor’s professionals, and the Lender and its agents and
       representatives, as well as Harry Horowitz, the state-court appointed receiver and his
       agents and representatives, have not made, and do not make, any representations as to the
       Real Property’s physical condition, rents, leases, expenses, operations, value of the land
       or buildings thereon, or any other matter or thing affecting or related to the Real Property
       or this Auction Sale, which might be pertinent to the purchase of the Real Property,
       including, without limitation, (i) the current or future real estate tax liability, assessment
       or valuation of the Real Property; (ii) the potential qualification of the Real Property for
       any and all benefits conferred by or available under federal, state or municipal laws,
       whether for subsidies, special real estate tax treatment, insurance, mortgages, or any other
       benefits, whether similar or dissimilar to those enumerated; (iii) the compliance or non-


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       compliance of the Real Property, in its current or any future state, with applicable present
       or future zoning ordinances or other land use law or regulation, or the ability to obtain a
       change in the zoning or use, or a variance in respect to the Real Property; (iv) the
       availability of any financing for the purchase, alteration, rehabilitation or operation of the
       Real Property from any source, including, but not limited to, any state, city or federal
       government or institutional lender; (v) the current or future use of the Real Property; (vi)
       the present and future condition and operating state of any and all machinery or
       equipment on the Real Property, if any, and the present or future structural and physical
       condition of any building thereon or its suitability for rehabilitation or renovation; (vii)
       the ownership or state of title of any personal property on the Real Property; (viii) the
       presence or absence of any laws, ordinances, rules or regulations issued by any
       governmental authority, agency or board and any violations thereof; (ix) any present or
       future issues concerning subdivision or non-subdivision of the Real Property; or (x) the
       compliance or non-compliance with environmental laws and the presence or absence of
       underground fuel storage tanks, any asbestos or other hazardous materials anywhere on
       the Real Property. Each bidder hereby expressly agrees and acknowledges that no such
       representations have been made. The Debtor is not liable or bound in any manner by
       expressed or implied warranties, guaranties, promises, statements, representations or
       information pertaining to the Real Property, made or furnished by the Debtor or any real
       estate broker, agent, employee, servant or other person or professional representing or
       purporting to represent the Debtor unless such warranties, guaranties, promises,
       statements, representations or information are expressly and specifically set forth in
       writing by the Debtor.

15.    The Real Property is being sold in accordance with 11 U.S.C. § 363, “AS IS”, “WHERE
       IS” IN ITS CURRENT CONDITION, WITHOUT ANY REPRESENTATIONS,
       COVENANTS, GUARANTEES OR WARRANTIES OF ANY KIND OR NATURE
       WHATSOEVER, and free and clear of any liens, claims or encumbrances of whatever
       kind or nature, with such liens, if any, to attach to the proceeds of sale, and is subject to
       among other things (a) any state of facts that an accurate survey may show; (b) any
       covenants, restrictions and easements of record; (c) any state of facts a physical
       inspection may show; and (d) any building or zoning ordinances or any other applicable
       municipal regulations and violations thereof; (e) all leases, if any, as may exist or
       encumber the Real Property or any portion thereof; and (f) environmental conditions.

16.    By delivering the Qualifying Deposit, all bidders acknowledge that they have had the
       opportunity to review and inspect the Real Property and the form of the transfer of the
       Real Property that the Debtor will execute to convey the Real Property, and will rely
       solely on their own independent investigation and inspection of the Real Property in
       making their bid. Neither the Debtor nor any of its representatives make any
       representations or warranties with respect to permissible uses of the Real Property,
       including, but not limited to, the zoning of the Real Property, certificate of occupancies
       with respect to the Real Property, the environmental condition of the Real Property or any
       other matters associated thereto. All bidders acknowledge that they have conducted their



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       own due diligence in connection with the Real Property, and are not relying on any
       information provided by the Debtor or its professionals.

17.    The Debtor shall convey the Real Property by delivery of a Deed. The quality of title
       shall be that which any reputable title insurance company authorized to do business in the
       State of New York is willing to approve and insure. In the event that the Successful
       Bidder is unable to obtain title insurance then the Debtor, in its sole discretion, shall have
       the option to obtain title insurance on behalf of the Successful Bidder at the expense of
       the Successful Bidder to be paid at the Closing.

18.    If the Debtor is unable to deliver title to the Real Property in accordance with these
       Bidding Procedures for any reason whatsoever, its only obligation will be to refund the
       Qualifying Deposit, if any, to the Successful Bidder, and upon such refund, the
       Successful Bidder will have no claim or recourse against the Debtor, its estate or the
       Debtor’s professionals, attorneys and agents, the Lender and its agents and
       representatives, and Harry Horowitz, the state-court appointed receiver and his agents and
       representatives.

19.    Neither the Debtor, Debtor’s counsel, Maltz, the Debtor’s estate, the Lender and its
       agents and representatives, nor Harry Horowitz, the state-court appointed receiver and his
       agents and representatives, are liable or responsible for the payment of fees of any broker
       that has not previously been approved by Order of the Bankruptcy Court for the Eastern
       District of New York.

20.    Nothing contained in these Bidding Procedures is intended to supersede or alter any
       provisions of Title 11 of the United States Code (the “Bankruptcy Code”) or otherwise
       interfere with the jurisdiction of the Bankruptcy Court. All of the terms and conditions
       set forth in these Bidding Procedures are subject to modification as may be directed by
       the Debtor or by the Bankruptcy Court. The Debtor, upon notification to the Office of the
       United States Trustee and the Lender, reserves the right to modify the Bidding Procedures
       at the Auction Sale or thereafter to maintain consistency with the provisions of the
       Bankruptcy Code and/or prior orders of the Bankruptcy Court.

21.    These Bidding Procedures may be read into the record, or specifically incorporated
       therein by reference, at the Auction Sale of the Real Property. By making a bid for the
       Real Property, all bidders will be deemed to have acknowledged having read these
       Bidding Procedures and having agreed to be bound by them. Additionally, by tendering
       the Qualifying Deposit for the purchase of the Real Property, the Successful Bidder
       acknowledges having read these Bidding Procedures and having agreed to be bound by
       them.

22.    By participating in the Auction Sale, all bidders consent to the jurisdiction of the United
       States Bankruptcy Court for the Eastern District of New York and any disputes
       concerning the sale of the Real Property shall be determined by the United States
       Bankruptcy Court for the Eastern District of New York.


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23.       The Debtor reserves its right to withdraw the Real Property from sale, either prior, or
          subsequent to the sale, for any reason whatsoever, as it deems necessary or appropriate,
          upon either Lender’s consent, which shall not be unreasonably withheld, or approval of
          the Bankruptcy Court.

24.       The sale of the Real Property is subject to confirmation by the Debtor and the Bankruptcy
          Court. The Debtor may, but shall not be obligated to, notify the Successful Bidder in
          writing regarding the Debtor’s acceptance of its bid within four (4) business days of the
          Auction Sale.

25.       Pursuant to Bankruptcy Rule 6004-1 no appraiser, auctioneer or officer, director,
          stockholder, agent, employee or insider of any appraiser of auctioneer, or relative of any
          of the foregoing, shall purchase, directly or indirectly, or have a financial interest in the
          purchase of, any property of the estate that the appraiser or auctioneer has been employed
          to appraise or sell.

26.       Each bidder shall confirm at the auction that it has not engaged in any collusion with
          respect to the bidding or the sale.

27.       These Bidding Procedures are subject to the approval of the Bankruptcy Court.

I have read these Bidding Procedures and agree to be bound by them.


 Signature:       ____________________________________               Date: ________________


 Print Name:      ____________________________________


 Title:           ____________________________________




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                                 MEMORANDUM OF SALE

The undersigned has this ____ day of _________, 2015, agreed to purchase the of real property
known as, and located at, 740 4th Avenue, Brooklyn, New York 11232, designated block 648, lot
42 (the “Real Property”), vested in 740 Realty LLC, the Chapter 11 Debtor (the “Debtor”) for
the sum of $________________________________, and hereby promises and agrees to comply
with the bidding procedures of the sale of the Real Property, as set forth in the annexed Bidding
Procedures.



___________________________________              ___________________________________
PURCHASER (Signature)                            PURCHASER (Signature)

___________________________________              ___________________________________
PRINT NAME OF PURCHASER                          PRINT NAME OF PURCHASER

___________________________________              ___________________________________
ADDRESS                                          ADDRESS

___________________________________              ___________________________________
TELEPHONE NUMBER                                 TELEPHONE NUMBER

___________________________________              ___________________________________
FAX NUMBER                                       FAX NUMBER

___________________________________              ___________________________________
E-MAIL ADDRESS                                   E-MAIL ADDRESS


Received from _________________________________________________ the sum of
$_______________________ as a non-refundable deposit for the purchase of the Real Property
pursuant to the Bidding Procedures, except to the extent as provided in the annexed Bidding
Procedures.

740 Realty LLC, the Chapter 11 Debtor
c/o LaMonica Herbst & Maniscalco LLP
Attorneys for the Debtor
3305 Jerusalem Avenue, Suite 201
Wantagh, NY 11793
(516) 826-6500
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This is to verify that the offer for the Real Property is for the sum of $_______________________.



_____________________________________
Maltz Auctions, Inc. d/b/a Maltz Auctions




BIDDER’S ATTORNEY INFORMATION


  Name:                      ____________________________________


  Address:                   ____________________________________


  Phone:                     ____________________________________


  E-mail:                    ____________________________________




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